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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                   LYNCHBURG DIVISION


   TERESA MOREY,

                                           Plaintiff,

   v.                                                           Case No. 6:19-CV-00024

   AVANTE AT LYNCHBURG, INC.,
   AVANTE GROUP, INC.,                                          DEMAND FOR JURY TRIAL
   CURIS AT LYNCHBURG OPCO, LLC,
   d/b/a CURIS AT LYNCHBURG NURSING AND
   REHABILITATION CENTER
   CURIS AT LYNCHBURG PROPCO, LLC,
   CURIS HEALTH SYSTEMS, LLC,
   SENTOSACARE, LLC,

                                           Defendants.


                                SECOND AMENDED COMPLAINT


         Plaintiff Teresa Morey (“Morey” or “Plaintiff”), by and through undersigned counsel,

  hereby complains as follows against Defendants Avante at Lynchburg, Inc.; Avante Group, Inc.

  (individually or collectively, “Avante” or the “Avante Defendants”); and Curis at Lynchburg

  Opco, LLC; Curis at Lynchburg Propco, LLC; Curis Health Systems, LLC; and SentosaCare,

  LLC (individually or collectively, “Curis” or the “Curis Defendants”).

                                     SUMMARY OF ACTION

         1.      Plaintiff brings this action to redress violations by Defendants of Title VII of the

  Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq. (“Title VII”), the Americans with

  Disabilities Act, 42 U.S.C. § 12101, et seq. (“ADA”), the Family and Medical Leave Act, 29

  U.S.C. § 2601, et seq. (“FMLA”), and related state law claims. Specifically, Plaintiff alleges:



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                 (a) The Avante Defendants discriminated against Plaintiff due to her sex,

         subjected her to sexual harassment, including sexual battery and assault, and to a hostile

         work environment due to her sex, and failed to take corrective action despite her repeated

         pleas for protection;

                 (b) the sexual harassment, battery, and assault that Morey experienced rendered

         her working conditions intolerable and caused her to suffer severe psychological injuries,

         requiring her to take medical leave;

                 (c) the Avante Defendants denied Morey job-protected FMLA leave to which she

         was entitled, and indicated she was only allowed to take temporary “personal leave” that

         was not job-protected;

                 (d) after Morey went out on non-job-protected personal leave under Avante, the

         Curis Defendants replaced Avante as the employer at her worksite;

                 (e) while Morey was on leave, her employment was terminated -- either by the

         Avante Defendants before the transition to Curis, and/or by Curis after the transition --

         because of her disability, request for leave, and/or need for FMLA/medical leave,; and

                 (f) Curis and/or Avante discriminated against Morey on the basis of disability

         and/or retaliated against Morey for exercising her rights under the ADA and/or the

         FMLA and/or interfered with Morey’s exercise of her FMLA rights by terminating or

         denying her employment because she was disabled and needed medical leave for the

         injuries caused by the sexual harassment, battery, and assault.

         2.      In short, Avante rendered Morey disabled by subjecting Morey to sexual

  harassment, battery, and assault, which required her to take medical leave, and Curis and/or




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  Avante terminated Morey or denied Morey employment because she was disabled and needed

  medical leave.

                                    JURISDICTION AND VENUE

             3.    This Court has original subject matter jurisdiction over this action pursuant to 28

  U.S.C. § 1331 because the claims herein arise under laws of the United States. This Court further

  has subject matter jurisdiction over the claims raised herein pursuant to Title VII of the Civil

  Rights Act of 1964, as amended, 42 U.S.C. § 2000e-5; Title I of the Americans with Disabilities

  Act of 1990, 42 U.S.C. § 12117(a); the Family and Medical Leave Act, 29 U.S.C. § 2617; and

  pursuant to the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

             4.    This Court has subject matter jurisdiction over the attendant state law claims

  pursuant to 28 U.S.C. § 1367.

             5.    This Court may properly maintain personal jurisdiction over Defendants because

  Defendants’ contacts with this state and this judicial district are sufficient for the exercise of

  jurisdiction over Defendants to comply with traditional notions of fair play and substantial

  justice.

             6.    Venue is proper in this judicial district under 28 U.S.C. § 1391(b) and 42 U.S.C. §

  2000e-5(f)(3). Plaintiff was employed by or denied employment by Defendants in this judicial

  district; Defendants are located in this district; Plaintiff’s personnel records are maintained by

  Defendants in this district; the unlawful employment practices at issue occurred in this district;

  and/or a substantial part of the events or omissions giving rise to her claims occurred in this

  judicial district.

                                  INTRADISTRICT ASSIGNMENT




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         7.      Venue is proper in the Lynchburg Division under Local Rule 2(b) because

  Defendants employed Plaintiff or denied Plaintiff employment in this division, and a substantial

  part of the events or omissions that gave rise to this action occurred in this division.

                                               PARTIES

         8.      Plaintiff Teresa Morey is a female resident of Virginia and a citizen of the United

  States. From approximately April 1, 2017 through May 31, 2018, Plaintiff worked as a nurse for

  Avante at a medical facility in Lynchburg, Virginia (the “Lynchburg Facility” or the “Facility”).

  On or about June 1, 2018, Curis replaced Avante as the employer of nurses and other staff and

  provider of nursing services at the Facility. Prior to the transition, Morey was on leave receiving

  treatment for the psychological injuries caused by sexual harassment, battery, and assault

  described herein. Other Avante nurses and staff who were not disabled and not on medical leave

  had their employment at the Facility transitioned from Avante to Curis with no break in

  employment. These employees continued to work at the Facility under Curis performing the

  same jobs at the same worksite with the same personnel and the same equipment and providing

  the same services as they had under Avante with complete continuity of business operations.

  However, Curis refused to allow Morey to continue her employment under Curis because she

  was on medical leave at the time of the transition from Avante to Curis at the Facility.

  Alternatively, Avante terminated Morey prior to the transition while she was on leave because of

  her disability and/or need for medical leave, or the Curis and Avante Defendants acted together

  in terminating Morey’s employment because of her disability and/or need for medical leave.

         9.      At all relevant times, Plaintiff was an employee of Defendants within the meaning

  of 42 U.S.C. § 2000e(f) and 42 U.S.C. § 12111, and an eligible employee under 29 U.S.C.

  § 2611(2).




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          10.     Defendant Avante at Lynchburg, Inc. is a Virginia corporation with its principal

  office located at 2081 Langhorne Road, Lynchburg, VA 24501 (a.k.a. the “Lynchburg Facility”

  or the “Facility”).

          11.     Defendant Avante Group, Inc. is a Florida corporation, authorized to do business

  in Virginia, with its principal office at 4601 Sheridan Street, Ste 500, Hollywood, Florida 33021.

          12.     At all relevant times, Avante at Lynchburg, Inc. and Avante Group, Inc. were

  joint employers of Morey. At all relevant times, Avante at Lynchburg, Inc. and Avante Group,

  Inc., together with Avante Group, Inc.’s other divisions or entities, were a single, integrated

  employer of Morey. Upon information and belief, Avante Group, Inc. owns and operates Avante

  at Lynchburg, Inc. from its corporate headquarters in Florida. Avante at Lynchburg, Inc. is an

  entity created by Avante Group, Inc. to provide nursing services at the Lynchburg Facility,

  where Morey worked. At all relevant times, Avante Group, Inc. controlled and had the right to

  control Avante at Lynchburg, Inc. and the employees who worked at the Lynchburg Facility and

  made personnel decisions regarding Morey and other Avante employees working at the

  Lynchburg Facility. At all times relevant, Avante Group, Inc. had the power to stop the sexual

  harassment, assault, and battery that Morey suffered at its Lynchburg Facility. At all relevant

  times, Avante Group, Inc. knew or should have known about the sexual harassment, assault, and

  battery that Morey suffered, but did nothing to stop the harassment, assault, and battery or

  otherwise protect Morey.

          13.     Defendant Curis at Lynchburg Opco, LLC is a Delaware limited liability

  company, authorized to do business in Virginia, with its principal office located at 945

  Broadway, Woodmere, NY 11598. This Defendant provides nursing services at the Lynchburg




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  Facility where Morey worked. This Defendant hires and employs workers to provide nursing

  services at the Facility and made the decision to fire or not hire Morey.

         14.     Defendant Curis at Lynchburg Propco, LLC is a Delaware limited liability

  company, authorized to do business in Virginia, with its principal office located at 945

  Broadway, Woodmere, NY 11598. This Defendant provides nursing services at the Lynchburg

  Facility where Morey worked. This Defendant hires and employs workers to provide nursing

  services at the Facility and made the decision to fire or not hire Morey.

         15.     Defendant Curis Health Systems, LLC is a Delaware limited liability company,

  authorized to do business in Virginia, with its principal office located at 945 Broadway,

  Woodmere, NY 11598. This Defendant provides nursing services at the Lynchburg Facility. This

  Defendant hires and employs workers to provide nursing services at the Facility and made the

  decision to fire or not hire Morey.

         16.     Upon information and belief, Defendant SentosaCare, LLC is a New York limited

  liability company with its principal offices located at 100 Daniel Drive, Webster, NY 14580

  and/or 20 Franklin Place, Woodmere, NY 11598 and/or 1050 Central Avenue, Woodmere, NY

  11598. Upon information and belief, SentosaCare, LLC owns and operates the “Curis at

  Lynchburg” and “Curis Health Systems” Defendants from its corporate headquarters in New

  York. The “Curis at Lynchburg” and “Curis Health Systems” Defendants are entities created by

  SentosaCare, LLC to provide nursing services at the Lynchburg Facility where Morey worked.

  Upon information and belief, at all relevant times, SentosaCare, LLC controlled and had the right

  to control the “Curis at Lynchburg” and “Curis Health Systems” Defendants and the employees

  who worked at the Lynchburg Facility and made personnel decisions regarding Morey and other

  employees or prospective employees at the Lynchburg facility. This Defendant hires and




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  employs workers to provide nursing services at the Facility and made the decision to fire or not

  hire Morey.

         17.     In refusing to allow Morey to continue her employment under Curis upon the

  transition from Avante to Curis at the Lynchburg Facility, the Curis Defendants acted as joint

  employers with respect to Morey. In refusing to allow Morey to continue her employment under

  Curis upon the transition from Avante to Curis at the Lynchburg Facility, the Curis Defendants

  (together with other Curis divisions or entities) acted as a single, integrated employer with

  respect to Morey.

         18.     Curis’ reason for refusing to allow Morey to continue her employment under

  Curis was that, at the time of the transition from Avante to Curis, Morey was on medical leave.

         19.     Upon information and belief, Curis is a successor in interest to Avante. To the

  extent Curis is a successor in interest to Avante, Curis is responsible (jointly and severally with

  Avante) for Avante’s unlawful conduct with respect to Morey, as well as for Curis’ own ADA

  and FMLA violations.

         20.     At all times relevant, each Defendant has continuously been an employer engaged

  in an industry affecting commerce pursuant to 42 U.S.C. § 2000e(b).

         21.     Each Defendant is an employer within the meaning of the ADA.

         22.     At all times relevant, each Defendant has been a person engaged in an industry

  affecting commerce who has 15 or more employees for each working day in each of 20 or more

  calendar weeks in the current or preceding calendar year, or an agent of such person.

         23.     Each Defendant is an employer with the meaning of the FMLA.

         24.     At all times relevant, each Defendant has been a person engaged in commerce or

  in any industry or activity affecting commerce who employs 50 or more employees for each




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  working day during each of 20 or more calendar workweeks in the current or preceding calendar

  year.

          25.    Each Defendant has had fifteen or more employees for each working day in each

  of twenty or more calendar weeks in the current or preceding calendar year.

          26.    Each Defendant has had more than 500 employees in each of twenty or more

  calendar weeks in the current or preceding calendar year.

          27.    Each Defendant has had more than 200 and fewer than 501 employees in each of

  twenty or more calendar weeks in the current or preceding calendar year.

          28.    Each Defendant has had more than 100 and fewer than 201 employees in each of

  twenty or more calendar weeks in the current or preceding calendar year.

          29.    Each Defendant has had more than 14 and fewer than 101 employees in each of

  twenty or more calendar weeks in the current or preceding calendar year.

          30.    At all relevant times, each Defendant acted by and through its agents, servants

  and employees, each of whom acted at all times relevant in the course and scope of their

  employment with Defendant.


                        CURIS’ SUCCESSOR-IN-INTEREST LIABILITY

          31.    Upon information and belief, Curis is a successor in interest to Avante. To the

  extent Curis is a successor in interest to Avante, Curis is responsible (jointly and severally with

  Avante) for Avante’s unlawful conduct with respect to Morey, as well as for Curis’ own ADA

  and FMLA violations.

          32.    Curis had actual notice of Morey’s claims of sexual harassment, assault, battery,

  and constructive discharge prior to taking over Avante’s operations at the Facility. For example,

  on or about April 23, 2018, Morey submitted to Avante documentation from her physician



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  recommending a medical leave of absence as a result of injuries resulting from “workplace

  sexual harassment.” Morey was subsequently informed that if she did not return to work by May

  31, 2018, she would be fired by Curis because she was on medical leave. Therefore, Curis

  apparently had access to Morey’s medical leave documentation, which would have provided

  Curis with actual notice of both Morey’s “workplace sexual harassment” claims and the injuries

  caused by that harassment.

          33.     Morey’s constructive discharge claim is based on her sexual harassment claim,

  and her battery and assault claims are based on the same conduct as the sexual harassment claim.

  Thus, Morey’s medical leave documentation provided Curis with actual notice of Morey’s

  claims of sexual harassment, constructive discharge, battery, and assault (and Curis’ potential

  liability for those claims).

          34.     In addition, Curis obtained or should have obtained actual notice of Morey’s

  claims from other sources, such as from conversations with Avante’s management who had

  personal knowledge of the claims.

          35.     Curis also had constructive notice of Morey’s claims (and of its potential liability

  for these claims) prior to taking over Avante’s operations at the Facility.

          36.     For example, Curis had constructive notice of Morey’s claims because knowledge

  of her claims can be imputed to Curis based on its ability to exercise due diligence prior to the

  transfer, which would have or should have informed Curis of Morey’s claims. See, e.g.,

  Lipscomb v. Techs., Servs., & Info., Inc., No. CIV.A. DKC-09-3344, 2011 WL 691605, *9 (D.

  Md. Feb. 18, 2011); EEOC v. 786 South LLC, 693F.Supp.2d 792, 795 (W.D. Tenn. 2010); Lyles

  v. CSRA Inc., No. GJH-18-973, 2018 WL 6423894, *4 n3 (D. Md. Dec. 4, 2018). Morey

  formally notified Avante’s upper management in writing of her sexual harassment claims on or




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  about February 1, February 2, February 5, February 14, February 23, March 1, March 8, March

  14, March 23, April 6, and April 13, 2018, among other occasions. With reasonable due

  diligence, Curis would have been able to obtain copies of these written complaints and ascertain

  that Morey had filed multiple complaints of sexual harassment. Curis therefore had constructive

  notice of Morey’s claims (and its potential liability for those claims) by virtue of Morey’s pre-

  sale written complaints and Curis’ due diligence.

         37.     As a second example of how Curis had constructive notice of Morey’s claims,

  Avante’s upper management became managers and directors for Curis at the Facility after the

  transfer from Avante to Curis. A successor company like Curis can have constructive notice of

  discrimination claims where the predecessor company’s management, having personal

  knowledge of those claims, then become managers for the successor. That happened here. Prior

  to the transfer, Morey filed multiple detailed complaints regarding her harassment claims with

  Avante’s Director of Nursing (Joy Magnan), Avante’s Executive Director (Nathan Libassi),

  Avante’s Human Resources Manager (Tammy Robbins), and Avante’s corporate offices in

  Florida. Magnan, Libassi, and/or Robbins continued on with Curis after the transition. Thus,

  Curis had constructive notice of Morey’s claims through Magnan, Libassi, and/or Robbins. See,

  e.g., EEOC v. Sage Realty Corp., 507 F. Supp. 599, 612 (S.D.N.Y.), decision supplemented, 521

  F. Supp. 263 (S.D.N.Y. 1981).

         38.     As a result of the transfer to Curis, Avante at Lynchburg has ceased doing

  business and no longer has income or assets with which to satisfy a potential judgment in this

  case. Although Morey asserts that Avante Group is liable for her claims as an employer or joint

  employer, Avante Group has denied it was Morey’s employer. Upon information and belief, the

  Avante Defendants collectively lack the ability to provide complete relief for Morey’s claims.




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         39.     The transfer of the Facility from Avante to Curis has resulted in the substantial

  continuity of business operations at the Facility because Curis uses the same facility that Avante

  had, and employs substantially the same workforce with substantially the same supervisory

  personnel. Moreover, the same jobs continue to exist in the same working conditions, the same

  equipment is being used, and the same services are being provided. See EEOC v. Phase 2

  Investments Inc., 310 F. Supp. 3d 550, 569 (D. Md. 2018) (quoting EEOC v. MacMillan Bloedel

  Containers, Inc., 503 F.2d 1086, 1094 (6th Cir. 1974)).

         40.     Curis is liable as Avante’s successor for Morey’s common law claims of assault

  and battery because of the complete continuity of business operations during and after the

  transfer of the Facility from Avante to Curis, including the same personnel and management

  performing the same jobs in the same conditions after the transfer. See Kaiser Found. Health

  Plan of Mid-Atl. States v. Clary & Moore, P.C., 123 F.3d 201, 204 (4th Cir. 1997).

         41.     Curis’ operation of the Facility was “merely a continuation” of Avante’s

  operation. Id. at 204. There was a common identity of managers, officers, and directors from

  Avante to Curis. For example, the Director of Nursing (Joy Magnan), the Executive Director,

  (Nathan Libassi), the Human Resources Manager (Tammy Robbins), and/or other managers,

  officers, and directors continued on in the same managerial positions with Curis. The question of

  whether there was also a common identity of stockholders requires discovery. Id.

         42.     Curis has continued on “in the same business” as Avante, at the same location,

  with the same employees and management, providing the same services to the same clients. Id.

         43.     Also a result of the transfer, the Avante at Lynchburg Defendant has ceased doing

  business and “only one [corporation, Curis] remain[s].” Id.




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            44.   Curis “continues in the old offices [of Avante] with the same telephone number

  and address as the old company.” Id.

            45.   In addition, the transfer from Avante to Curis amounted to a “consolidation or de

  facto merger of the two companies.” Id. at 204.

            46.   There was “a continuity of the selling corporation's [Avante’s] enterprise,

  including continuity of management, personnel, physical location, assets, and general business

  operations[.]” Blizzard v. Nat'l R.R. Passenger Corp., 831 F. Supp. 544, 547 (E.D. Va. 1993).

            47.   The question of whether there was a “continuity of ownership” requires

  discovery. However, identical ownership need not be present. Kaiser, 123 F.3d at 206.

            48.   There was “prompt liquidation and dissolution of the selling corporation’s

  [Avante at Lynchburg’s] business operations[.]” Blizzard, 831 F. Supp. at 547. Upon information

  and belief, any revenues from the transfer went to the Avante Group Defendant, which denies it

  was Morey’s employer (DN 26 ¶ 12)1, and the Avante at Lynchburg Defendant has ceased doing

  business and has no income or assets.

            49.   There was “an assumption by the purchasing corporation [Curis] of the selling

  corporation's [Avante’s] obligations necessary for normal operation of the seller's business.” Id.

  at 547.

            50.   The complete continuity of business operations from Avante to Curis with the

  same managers supervising the same employees plausibly shows that Curis impliedly agreed to

  assume Avante’s existing obligations to its employees, who remained the same after the

  transition. See Kaiser, 123 F.3d at 204.



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    Morey disagrees and asserts that Avante Group is liable as her employer or joint employer. But
  it is worth noting that the entity Avante asserts was Morey’s employer (Avante at Lynchburg)
  has been replaced by Curis and ceased doing business, and therefore lacks income or assets.

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                         EXHAUSTION OF ADMINISTRATIVE REMEDIES

          51.     On or about July 30, 2018, Plaintiff filed a charge of discrimination with the

  Equal Employment Opportunity Commission (the “EEOC”) against the Avante Defendants

  concerning the facts described in this Complaint. The charge was assigned a charge number of

  438-2018-01525. On October 11, 2018, Plaintiff filed an amended charge of discrimination

  against the Avante Defendants (the “Avante Charge”).

          52.     The Avante Charge alleged, inter alia, that the Avante Defendants discriminated

  against Plaintiff because of her sex, subjected her to a hostile work environment based on sex,

  retaliated against her for engaging in protected activity by reporting the harassment she suffered,

  all in violation of Title VII, and discriminated against Plaintiff on the basis of disability, in

  violation of the ADA.

          53.     On January 31, 2019, the EEOC issued a Notice of Suit Rights regarding the

  Avante Charge. Plaintiff sufficiently exhausted all available administrative remedies on her

  claims against the Avante Defendants as the EEOC issued the dismissal and Notice of Suit

  Rights concerning these claims and Plaintiff received that notice fewer than 90 days before the

  filing of this action. A copy of the Notice of Suit Rights as to the Avante Charge is attached

  hereto as Exhibit 1.

          54.     On November 23, 2018, Plaintiff filed a charge of discrimination with the EEOC

  against the Curis Defendants concerning the facts described in this Complaint. The charge was

  assigned a charge number of 438-2019-00280 (the “Curis Charge”).

          55.     The Curis Charge alleged, inter alia, that the Curis Defendants discriminated

  against Plaintiff because of sex, subjected Plaintiff to a hostile work environment based on sex,




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  and retaliated against Plaintiff for reporting protected activity, in violation of Title VII, and

  discriminated against Plaintiff on the basis of disability, in violation of the ADA.

         56.     On January 31, 2019, the EEOC issued a Notice of Suit Rights regarding the

  Curis Charge. Plaintiff sufficiently exhausted all available administrative remedies on her claims

  against the Curis Defendants as the EEOC issued a dismissal and Notice of Suit Rights

  concerning these claims and Plaintiff received that notice fewer than 90 days before the filing of

  this action. A copy of the Notice of Suit Rights as to the Curis Charge is attached hereto as

  Exhibit 2.



                                     FACTUAL BACKGROUND

         57.     Morey began working for Avante at the Lynchburg Facility on or about April 1,

  2017 through a staffing company. From the beginning of her employment until approximately

  November 2017, Morey received her paychecks from the staffing company while Avante

  exercised complete control over the terms and conditions of her work and employment. From

  approximately November 2017 until the end of her employment, Morey received her paychecks

  from Avante. Throughout the entire period that Morey worked for Avante at the Lynchburg

  Facility — approximately April 1, 2017 through sometime in late April or May, 2018 — Avante

  exercised control over the terms and conditions of Morey’s employment.

         58.     At all relevant times, Morey’s direct supervisor was Avante’s Director of

  Nursing, Joy Magnan.

         59.     Throughout her employment, Morey worked hard, performed to a high standard,

  and (until she began complaining about sexual harassment) received positive performance




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  reviews. For example, Morey’s second-line supervisor, Nathan Libassi, continually praised

  Morey’s work both in her management of staff and her care of patients.

         60.    On or about January 22, 2018, Avante hired Frank Popa to work at the Facility as

  the Staffing Development Coordinator. Almost immediately, Popa began sexually harassing

  members of the female staff, including Morey.

         61.    Popa was a higher-ranking Avante employee than was Morey.

         62.    On his first day at Avante, Popa established a habit of standing close to Morey

  and putting his hand on her shoulders. This behavior was unwelcome.

         63.    Two to three days after he started working at Avante, Popa escalated his behavior

  and began moving his hand up and down Morey’s back and rubbing her buttocks.

         64.    On or about February 1, 2018, Morey reported Popa’s behavior to her direct

  supervisor and Avante’s Director of Nursing, Joy Magnan. Magnan advised Morey to tell Popa

  his behavior was making her uncomfortable and to ask him to stop.

         65.    Accordingly, the next day, February 2, when Popa again inappropriately touched

  Morey, Morey did as Magnan had advised: she told Popa to stop, and again reported his behavior

  to her supervisor Magnan. At this point Magnan also requested that Morey submit to her a

  written a statement about Popa’s actions. Morey wrote that statement the same day and gave it to

  Magnan.

         66.    Despite Morey’s clear statements to Popa and Magnan that Popa’s conduct was

  unwanted, Popa did not stop sexually harassing Morey. On the contrary, he became more

  aggressive. Morey tried to avoid him whenever possible, but on or about February 5, Popa

  entered Morey’s office and moved so close to Morey that when she looked up from her work,

  Popa’s lips nearly touched hers. Surprised, Morey pulled back quickly from Popa and




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  subsequently spoke to Magnan about the incident. Magnan had actually witnessed the incident

  herself and provided a statement to Libassi describing Popa’s behavior toward Morey. Despite

  this, no action was taken to protect Morey from Popa’s harassing behavior.

         67.     Emboldened by Avante’s failure to intervene and protect Morey, Popa’s conduct

  became increasingly predacious. These are just a few examples:

                 A) on February 14, in Morey’s office, Popa groped Morey’s breasts;

                 B) on February 23, outside an office hallway, Popa grabbed Morey’s buttocks;

                 C) on March 1, in Magnan’s office, Popa reached between Morey’s legs and

                 grabbed her buttocks;

                 D) on March 8, near the office printer, Popa forcefully grabbed Morey’s breasts;

                 E) on March 14, in a Twin Lakes medicine room, Popa groped Morey’s vaginal

                 area through her clothes;

                 F) on March 23, Popa approached Morey from behind and began massaging her

                 lower back; and

                 G) on April 6, Popa cornered Morey in a basement supply room and pushed

                 himself against her; Morey asked him to move but he refused. Morey only

                 escaped by pushing past him and leaving the room.

         68.     After each assault, Morey indicated to Popa that his conduct was unwanted and

  reported his actions to her supervisors, including Magnan, Libassi, and Tammy Robbins in

  Avante’s Human Resources Department. Morey also forwarded her complaints to the appropriate

  authorities at Avante’s corporate offices in Florida.

         69.     In response, an Avante corporate representative, who spoke to Morey at Avante

  Lynchburg with Magnan present, told Morey that, “This was the South” and that Popa’s behavior




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  was normal in the South where “people talk with their hands.” This was just one of the excuses

  that the corporate representatives gave for doing nothing to help Morey.

         70.     Although Morey and Magnan filed multiple detailed formal complaints about

  Popa’s unceasing sexual harassment, Popa faced no discipline and management took no efforts

  to attempt to correct his behavior or to separate him from Morey. Instead, management began to

  retaliate against Morey, compounding the severe harm it had already done.

         71.     In short, Morey repeatedly reported Popa’s sexually terrifying groping and

  degrading behavior throughout Popa’s ongoing campaign of harassment, to numerous of her

  superiors and Human Resources. Yet no action was taken to stop Popa or protect Morey from his

  harassment.

         72.     In addition, Avante knew and/or should have known about Popa’s harassment

  from other sources. Yet no action was taken to stop Popa or protect Morey from his harassment.

         73.     Popa’s sexually harassing conduct was offensive and unwelcome. Popa’s actions

  made Morey feel terrified, disgusted, and humiliated.

         74.     On March 23, Morey went to Libassi to again complain in person of Popa’s

  actions and to request that something be done. Libassi responded by telling Morey he was aware

  of the situation, adding, “You are aware he outranks you, right?” Afterward, when Morey

  protested that rank should not matter and again informed Libassi that Popa had been sexually

  harassing her, Libassi ended the conversation and dismissed her.

         75.     Following this conversation, Libassi not only continued doing nothing to assist

  Morey but began actively retaliating against her. First, he told Magnan that if Morey did not

  return to school and enroll in a program for further education that Morey would be demoted and

  have her pay cut. Libassi falsely claimed that if Morey did not do this she would be in violation




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  of an employment contract. Then, for the first time, Libassi began to criticize Morey’s work,

  telling her she was “not approachable” and that “people” had complained that Morey had been

  “rude” to them. Throughout this time, Libassi continued to take no action against Popa or to

  ensure Morey’s safety. Disturbingly, after Libassi learned of Morey’s complaints, Libassi

  repeatedly created situations in which Morey was required to be alone with Popa.

          76.    On April 13, Morey again went to Human Resources Representative Robbins to

  complain about the sexual harassment and sexual assaults she was enduring. Rather than take

  any action, Robbins accused Morey of behaving and dressing in a manner that invited Popa to

  grope her. In fact, Morey dressed and behaved professionally at all times, and did not give

  anyone permission to grope or sexually assault her, explicitly or by implication.

          77.    On April 18, Libassi issued Morey a formal (and false) written reprimand for

  “stealing time.” The reprimand criticized Morey for not using the time clock appropriately,

  although Morey had previously told Libassi that the time clock was not functioning properly.

  Furthermore, Morey had requested and been approved to take off the time in question to attend a

  doctor’s appointment.

          78.    Popa’s ceaseless sexual harassment, assault, and battery, as well as Avante’s

  refusal to protect Morey despite her repeated pleas for protection, caused Morey stress so severe

  that it caused mental disabilities, including but not limited to acute stress disorder, post-traumatic

  stress disorder, major depressive disorder, insomnia, and panic attacks, which required Morey to

  take leave from work. As a result of the extreme stress she experienced, Morey’s hair began

  falling out.

          79.    On or about April 23, 2018, Morey requested medical leave due to the injuries

  caused by the sexual harassment, assault, and battery. Even though Morey was entitled to job-




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  protected FMLA leave, Avante (incorrectly) informed Morey she was not entitled to job-

  protected FMLA leave and denied her the same. Morey’s doctor notified Avante that her need

  for leave was due to psychological injuries from workplace sexual harassment. Avante initially

  allowed Morey 30 days of non-FMLA “personal leave,” which began on April 24, 2018. At the

  end of the 30-day period, however, Morey’s doctor ordered Morey to take an additional 30 days

  of leave.

          80.    At some time in late May 2018, the Facility where Morey worked and/or the

  contract for provision of nursing services at the Facility was transferred or otherwise transitioned

  from Avante to Curis. As a result, Curis became the employer at the Facility where Morey

  worked. Other nurses and employees who were not disabled and not on medical leave had their

  employment transitioned from Avante to Curis. But Morey was informed that if she did not

  return to work by May 31, 2018, she would be fired by Curis because she was on medical leave.

          81.    Because Morey was disabled due to the sexual harassment she experienced, she

  was unable to return to work by May 31.

          82.    While Morey was on leave, her employment was terminated by one or more

  Defendants because of her disability, request for leave, and/or need for FMLA/medical leave:

  either by the Avante Defendants before the transition to Curis, and/or by Curis after the

  transition.

          83.    A dispute exists between the Defendants as to the timing of Morey’s termination,

  and which Defendant terminated Morey.

          84.    The Curis Defendants appear to assert that Morey was terminated by the Avante

  Defendants while she was on medical leave, because she was on medical leave, at some point

  before the May 31, 2018 transition from Avante to Curis. Therefore, the Curis Defendants assert,




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  Morey was not an employee of Avante at the time Curis took over the employment of the Avante

  staff at the Lynchburg facility, while the other Avante staff (who had their employment

  continued with Curis) were employees of Avante at the time Curis took over.

         85.     The Avante Defendants, by contrast, appear to assert that the Avante Defendants

  did not terminate Morey’s employment prior to the transition to Curis. The Avante Defendants

  assert that at the time of the transition from Avante to Curis, Morey was a current Avante

  employee on non-FMLA, non-job-protected personal leave, and that Morey’s employment with

  Avante ceased at the same time the employment of the other staff at the Lynchburg facility with

  Avante ceased, simply as a consequence of the transition of the facility’s ownership from Avante

  to Curis on the end of May 2018.

         86.     Morey, at this time, does not take a position as to the truth or falsity of Curis’

  assertions or Avante’s counter assertions regarding the timing of Morey’s termination or which

  Defendant terminated her, but only notes that these assertions by Defendants present a factual

  dispute between the Defendants to be resolved by the fact-finder. Morey asserts that was she was

  entitled to job-protected FMLA leave and/or leave as an accommodation under the ADA, that

  Defendants denied her job-protected leave, and that one or more Defendants terminated her

  employment because of her disability, need for leave, and/or requests for leave.

         87.     As a result of Defendants’ actions, Plaintiff has suffered damages.




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                                                COUNT I2
                Violations of Title VII of the Civil Rights Act, 42 U.S.C. § 2000e–2(a)(1)
                   Sex Discrimination / Harassment — Hostile Work Environment
                                     (Avante and Curis Defendants)

          88.       The foregoing paragraphs are incorporated herein as if set forth in full.

          89.       Plaintiff was subjected to severe and/or pervasive sexual harassment and a

  sexually hostile work environment that was both offensive and unwelcome.

          90.       The offensive and unwelcome conduct was based on Plaintiff’s sex.

          91.       The offensive and unwelcome conduct was sufficiently severe and/or pervasive to

  alter Plaintiff's conditions of employment and to create a hostile and abusive work environment.

          92.       The offensive and unwelcome conduct is imputable to Avante.

          93.       Avante failed to remedy the sexual harassment and sexually hostile work

  environment to which Plaintiff was exposed.

          94.       Any reasonable person would have felt that Plaintiff was being subjected to

  sexual harassment and/or a sexually hostile work environment due to Popa’s sexually offensive

  groping and behavior against her, and by Avante’s conduct in failing to effectively remedy the

  sexual harassment/sexually hostile work environment.

          95.       Avante knew or should have known about the sexual harassment and failed to

  take effective action to stop it.

          96.       Avante’s actions as set forth above constitute violations of Title VII of the Civil

  Rights Act of 1964, and have caused Plaintiff to suffer damages, including lost past and future

  wages, emotional distress damages, and other damages.



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   All captions or headings used herein are for organizational purposes only and should not be
  construed as limiting the scope of any claims.



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         97.     To the extent Curis is a successor in interest to Avante, Curis is responsible

  (jointly and severally with Avante) for Avante’s unlawful conduct with respect to Morey, as well

  as for Curis’ own ADA and FMLA violations.


                                              COUNT II
                                    Battery, Virginia Common Law
                                    (Avante and Curis Defendants)

         98.     The foregoing paragraphs are incorporated herein as if set forth in full.

         99.     Popa made an intentional, unlawful, harmful, and offensive sexual contact with

  and on the person of Plaintiff including, but not limited to, sexually groping Plaintiff.

         100.    Popa’s sexual contact with and on Plaintiff’s person was unwanted, unconsented

  to, unexcused, and unjustified.

         101.    The Avante Defendants knew and/or should have known about Popa’s behavior,

  yet refused to do anything to address it.

         102.    At all times relevant, Popa was employed by Avante. At all times relevant, Popa

  was an agent of Avante and was acting within the scope of that agency.

         103.    As Popa was Avante’s agent, servant and employee, Avante is vicariously liable

  for Popa’s wrongful conduct and Morey’s resulting injuries and damages.

         104.    As a direct and proximate result of the wrongful conduct of Popa and the Avante

  Defendants, Plaintiff suffered great mental anguish, pain and suffering, humiliation and shame,

  damage to her career and professional reputation and other damages, lost wages, and incurred

  medical and legal expenses.

         105.    The conduct of Popa and the Avante Defendants was willful, wanton, malicious,

  and oppressive, entitling Plaintiff to an award of exemplary and punitive damages in an amount

  sufficient to deter future similar conduct by Defendants and their agents and others in the future.



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         106.    Avante’s actions as set forth above have caused Plaintiff to suffer damages.

         107.    To the extent Curis is a successor in interest to Avante, Curis is responsible

  (jointly and severally with Avante) for Avante’s unlawful conduct with respect to Morey, as well

  as for Curis’ own ADA and FMLA violations.



                                             COUNT III
                                   Assault, Virginia Common Law
                                   (Avante and Curis Defendants)

         108.    The foregoing paragraphs are incorporated herein as if set forth in full.

         109.    Popa’s actions toward Plaintiff were intended to cause Plaintiff to feel

  apprehension of a harmful or offensive contact with or on her person.

         110.    That apprehension of a harmful and offensive contact caused Plaintiff to suffer

  harm and injury.

         111.    Plaintiff suffered damages thereby as set forth herein.

         112.    The Avante Defendants knew and/or should have known about Popa’s behavior,

  yet refused to do anything to address it.

         113.    At all times relevant, Popa was employed by Avante. At all times relevant, Popa

  was an agent of Avante and was acting within the scope of that agency.

         114.    As Popa was Avante’s agent, servant and employee, Avante is vicariously liable

  for Popa’s wrongful conduct and Morey’s resulting injuries and damages.

         115.    As a direct and proximate result of the wrongful conduct of Popa and the Avante

  Defendants, Plaintiff suffered great mental anguish, pain and suffering, humiliation and shame,

  damage to her career and professional reputation and other damages, lost wages, and incurred

  medical and legal expenses.




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         116.    The conduct of Popa and the Avante Defendants was willful, wanton, malicious,

  and oppressive, entitling Plaintiff to an award of exemplary and punitive damages in an amount

  sufficient to deter future similar conduct by Defendants and their agents and others in the future.

         117.    Avante’s actions as set forth above have caused Plaintiff to suffer damages.

         118.    To the extent Curis is a successor in interest to Avante, Curis is responsible

  (jointly and severally with Avante) for Avante’s unlawful conduct with respect to Morey, as well

  as for Curis’ own ADA and FMLA violations.


                                            COUNT IV
                        Violations of Title VII, 42 U.S.C. §§ 2000e–2(a)(1)
                                      Constructive Discharge
                                 (Avante and Curis Defendants)

         119.    The foregoing paragraphs are incorporated herein as if set forth in full.

         120.    Avante knowingly subjected Morey to a sexually hostile work environment and

  repeated sexual battery, despite her repeated requests for protection, which Avante knowingly

  ignored.

         121.    In so doing, Avante deliberately subjected Morey to intolerable working

  conditions.

         122.    As a result of Avante’s actions and inactions, Morey suffered severe

  psychological injuries. These injuries required her to take unpaid medical leave from her

  employment due to the intolerable working conditions.

         123.    When Morey went out on medical leave beginning on or about April 23, 2018,

  she was unable to work at Avante because of the intolerable working conditions and the injuries

  they caused.




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         124.      By the last day Morey worked for Avante, her working environment had become

  so intolerable that her leaving Avante was a fitting response. See Pennsylvania State Police v.

  Suders, 542 U.S. 129, 134 (2004).

         125.      As a result of leaving Avante due to the intolerable working conditions, Morey

  was unable to continue her employment with Curis, as Curis did not allow her to transition to

  Curis due to the fact that she was on medical leave and unable to work at the time of the

  transition. See, e.g., White v. Honeywell, Inc., 141 F.3d 1270, 1279 (8th Cir. 1998) (An employee

  is constructively discharged, for purposes of Title VII, where intolerable working conditions

  force employee into unpaid medical leave of absence from which he or she is unable to return).

         126.      Accordingly, Avante constructively discharged Morey in violation of 42 U.S.C. §

  2000e–2(a)(1).

         127.      By constructively discharging Morey, Avante has caused her to suffer damages.

         128.      To the extent Curis is a successor in interest to Avante, Curis is responsible

  (jointly and severally with Avante) for Avante’s unlawful conduct with respect to Morey, as well

  as for Curis’ own ADA and FMLA violations.


                                                COUNT V
                      Violations of Title I of the Americans with Disabilities Act
                                       Disability Discrimination
                                    (Avante and Curis Defendants)

         129.      The foregoing paragraphs are incorporated herein as if set forth in full.

         130.      At all times relevant, Plaintiff’s psychological injuries and/or being regarded as

  having psychological injuries and/or having a record of psychological injuries rendered her an

  individual with a disability under the ADA.

         131.      At all times relevant, all Defendants had notice of Plaintiff’s disability.




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          132.       At all times relevant, Plaintiff was perceived by all Defendants to be suffering

  from a disability.

          133.       At all times relevant, Plaintiff was perceived by all Defendants as having a record

  of a disability.

          134.       Plaintiff asked Defendants for a reasonable accommodation of her disability, in

  the form of temporary leave (extending past May 31, 2018) to seek medical attention and heal.

          135.       Defendants could have provided the requested accommodation without incurring

  any undue hardship.

          136.       The Curis Defendants refused Plaintiff a reasonable accommodation and refused

  to allow her to continue her employment at the Lynchburg Facility. Alternatively, the Avante

  Defendants refused Plaintiff a reasonable accommodation and terminated her while she was on

  temporary leave, before she was medically able to return, and before the transition to Curis.

          137.       By summarily terminating Morey’s employment and refusing to allow her to

  continue working at the Lynchburg Facility, the Curis Defendants and/or Avante Defendants

  denied Morey’s request for accommodation without discussing it with her or having a

  conversation with her about possible reasonable accommodations.

          138.       In so doing, Curis and/or Avante (1) summarily denied Morey’s request for

  accommodation without discussing it with her or engaging in any interactive process to identify

  and implement a reasonable accommodation, and (2) terminated and/or refused to allow Morey

  to continue her employment because of her disability and/or perceived disability, and/or for

  having a record of a disability and/or perceived disability.

          139.       The Curis Defendants and/or Avante Defendants took adverse employment action

  against Plaintiff by terminating Plaintiff’s employment and refusing to allow her to continue her




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  employment at the Lynchburg Facility, while other Avante employees, who did not have

  disabilities or records of disabilities or were not regarded as having disabilities, were allowed to

  continue their employment at the Lynchburg Facility under the Curis Defendants.

          140.    At the time of Plaintiff’s discharge and denial of continued employment, she was

  performing her job at a level that met the Curis Defendants’ and Avante Defendants’ legitimate

  expectations.

          141.    The Curis Defendants and/or Avante Defendants unlawfully discriminated against

  Plaintiff by terminating her and/or denying her continued employment, at least in part, on the

  basis of disability.

          142.    The Curis Defendants’ and/or Avante Defendants’ actions as set forth above

  constitute violations of the ADA, and have caused Plaintiff to suffer damages.

                                              COUNT VI
                    Violations of Title VII of the Americans with Disabilities Act
                                              Retaliation
                                   (Avante and Curis Defendants)

          143.    The foregoing paragraphs are incorporated herein as if set forth in full.

          144.    Plaintiff engaged in protected activity by requesting medical leave as a reasonable

  accommodation for her disability.

          145.    The Curis Defendants and/or Avante Defendants took adverse employment action

  against Plaintiff by terminating Plaintiff’s employment and/or refusing to allow her to continue

  her employment at the Lynchburg Facility, while other Avante employees, who did not request

  accommodations, were not terminated and were allowed to continue their employment at the

  Lynchburg Facility under the Curis Defendants.

          146.    At the time of Plaintiff’s termination, she was performing her job at a level that

  satisfied Defendants’ legitimate expectations.



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         147.    The Curis Defendants and/or Avante Defendants terminated Plaintiffs’

  employment and/or refused to allow Plaintiff to continue her employment, at least in part,

  because of Plaintiff’s need for accommodation and/or Plaintiff’s request for accommodation

  and/or to prevent her from requesting future accommodations.

         148.    But for Plaintiff’s protected activity, the Curis Defendants and/or Avante

  Defendants would not have terminated her employment and/or refused to allow her to continue

  her employment after the transition from Avante to Curis at the Lynchburg Facility.

         149.    The Curis Defendants’ and/or Avante Defendants’ actions as set forth above

  constitute violations of the ADA, and have caused Plaintiff to suffer damages.


                                           COUNT VII
                         Violations of Family Medical Leave Act (FMLA)
                              Interference — 29 U.S.C. § 2615(a)(1)
                                  (Avante and Curis Defendants)

         150.    The foregoing paragraphs are incorporated herein as if set forth in full.

         151.    Plaintiff was an eligible employee under the definitional terms of the FMLA.

         152.    As of April 24, 2018, Plaintiff was employed by the Avante Defendants for at

  least twelve (12) months. Plaintiff’s 12 months of service resulted from her continuously

  working for Avante through the staffing company for approximately at least 7 months (April 1,

  2017 to November 1, 2017) and then continuing to work for Avante without any involvement by

  the staffing company from approximately another 5 months (November 1, 2017 to April 1,

  2018). Throughout the entire period that Morey worked for Avante at the Lynchburg Facility —

  regardless of which entity’s name was on her paychecks — Avante exercised control over the

  terms and conditions of Morey’s employment. Avante and the staffing company were joint




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  employers of Morey for the purpose of the FMLA time-in-service and other requirements. See 29

  C.F.R. § 825.106.

         153.    Further, Plaintiff had at least 1,250 hours of service with Avante during the

  twelve (12) month period preceding April 24, 2018.

         154.    Curis was a successor in interest to Avante for the purpose of Morey’s FMLA

  rights. See 29 C.F.R. § 825.107. Because Curis was a successor in interest to Avante, Morey’s

  entitlements under the FMLA are the same as if the employment by Avante and Curis were

  continuous employment by a single employer.

         155.    Each Defendant was an employer covered by the terms of the FMLA.

         156.    Each Defendant is engaged in an industry affecting commerce and employed fifty

  (50) or more employees for twenty (20) or more calendar workweeks in 2017 and 2018.

         157.    Plaintiff’s psychological injuries caused by the sexual harassment and abuse she

  suffered as described herein constituted a serious health condition.

         158.    Plaintiff was entitled to leave under the FMLA.

         159.    Plaintiff was entitled to receive leave under the FMLA for a total of twelve (12)

  workweeks of leave, and Defendants were not permitted to interfere with Plaintiff’s exercise of

  her right to take leave or to retaliate against Plaintiff for exercising her rights under the FMLA.

         160.    The Curis Defendants and/or the Avante Defendants denied Plaintiff FMLA

  benefits to which she was entitled, including her right to take job-protected leave under the

  FMLA.

         161.    The Curis Defendants and/or the Avante Defendants interfered with Plaintiff’s

  FMLA rights by firing Plaintiff and/or not allowing Plaintiff to continue her employment at the

  Lynchburg Facility to prevent her from taking a future FMLA leave of absence.




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         162.    The Curis Defendants and/or the Avante Defendants interfered with Plaintiff’s

  FMLA rights by failing to provide her with the mandated individualized notice of her right to

  take FMLA leave.

         163.    As a result of the Curis Defendants’ and Avante Defendants’ actions as described

  above, the Curis Defendants and /or Avante Defendants violated the FMLA, causing prejudice to

  Plaintiff and causing Plaintiff to suffer damages.

         164.    The Curis Defendants’ and/or Avante Defendants’ actions as set forth above

  constitute violations of the FMLA, and have caused Plaintiff to suffer damages.



                                           COUNT VIII
                         Violations of Family Medical Leave Act (FMLA)
                               Retaliation — 29 U.S.C. § 2615(a)(2)
                                  (Avante and Curis Defendants)

         165.    The foregoing paragraphs are incorporated herein as if set forth in full.

         166.    Defendants retaliated against Plaintiff by firing her and refusing to allow her to

  continue her employment for requesting and/or taking a leave of absence that was FMLA-

  qualifying.

         167.    Plaintiff engaged in protected activity under the FMLA by requesting and/or

  taking leave that Defendants should have designated and treated as FMLA-protected leave.

         168.    The Curis Defendants and/or Avante Defendants terminated Plaintiff and/or

  refused to allow her to continue her employment at the Lynchburg Facility, at least in part, in

  retaliation for taking and/or requesting time off and/or to prevent her from taking future time off

  that Defendants should have designated and treated as FMLA-protected leave.

         169.    Thus, the Curis Defendants’ and/or Avante Defendants’ adverse action of

  terminating Plaintiff and/or refusing to allow her to continue her employment was causally



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  connected to Plaintiff’s protected activities of requesting and/or taking leave that Defendants

  should have designated and treated as FMLA-protected leave.

         170.    As a result of the Curis Defendants’ and/or Avante Defendants’ actions as

  described above, Defendants violated the FMLA, causing prejudice to Plaintiff and causing

  Plaintiff to suffer damages.

                                             DAMAGES

         171.    As a result of Defendants’ sex discrimination and sexually offensive hostile work

  environment, assault and battery, disability discrimination, FMLA violations, and other unlawful

  conduct, Plaintiff has suffered psychological injuries, mental anguish, personal and professional

  humiliation, emotional distress, loss of enjoyment of life, loss of past and future wages and

  benefits, curtailment of career opportunities, and other damages.

         172.    Defendants’ conduct described herein was willful, deliberate, malicious, and

  outrageous, so as to make an award of punitive damages appropriate.


                                        PRAYER FOR RELIEF

         173.    Accordingly, Plaintiff prays for judgment in her favor and against Defendants,

  and that this Court enter an Order:

           A.    Providing Plaintiff is to receive all relief allowed by law;

           B.    Prohibiting Defendants from continuing to maintain their illegal policy, practice,

                 or custom of discriminating against employees based on sex and/or subjecting

                 female employees to a sexually offensive hostile work environment;

           C.    Ordering equitable relief of the institution of an anti-discrimination educational

                 program approved by this Court, for all of Defendants’ employees, which

                 educational program includes specific and separate components for, and examples



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              of, all types of employment discrimination recognized under federal and Virginia

              law, including all statutes of limitations and remedies; and including internal-to-

              Defendants complaint procedures, rights and remedies for claims of

              discrimination and retaliation, for a period of five years, which internal procedure

              includes an optional independent (not controlled by Defendants) hotline for

              employee discrimination complaints, all paid for by Defendant;

         D.   Ordering that the above educational program be provided live, once a year, for

              five years, for all employees, and a video of that live program shall be made

              available to each new subsequent hire as part of the orientation training; and, that

              annual reports attesting to the same be made to this Court, or that a comparable

              system for annual reporting the same be implemented to monitor Defendants’

              institution of such educational program;

         E.   Ordering that Defendants, on an annual basis, shall distribute a written anti-

              discrimination policy approved by this Court, along with a fact sheet stating the

              statutes of limitations for filing with the Equal Employment Opportunity

              Commission (EEOC) and the Virginia Division of Human Rights, and both

              agencies' respective phone numbers, email addresses, and postal addresses;

         F.   Ordering that Plaintiff is to be awarded lost past and future wages and benefits in

              an amount to be determined at trial;

         G.   Ordering that Plaintiff is to be awarded all medical expenses and all other out-of-

              pocket costs and expenses she incurred as a result of Defendants’ unlawful

              conduct;




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           H.    Ordering that Plaintiff is to be awarded damages for emotional distress,

                 humiliation, loss of enjoyment of life, pain and suffering, and/or other

                 compensatory damages in an amount to be determined at trial;

           I.    Ordering that Plaintiff is to be awarded punitive damages in an amount to be

                 determined at trial;

           J.    Ordering that Plaintiff is to be awarded liquidated damages as allowed by law;

           K.    Ordering that Plaintiff is to be awarded the costs and expenses of this action,

                 including expert witness fees, pre and post judgment interest, and reasonable

                 attorneys’ fees;

           L.    Ordering that Plaintiff is to be awarded any and all other equitable and legal relief

                 allowed by law as the Court deems just and appropriate;

           M.    Ordering that Plaintiff’s claims are to receive a trial by jury to the extent allowed

                 by applicable law.

                                    DEMAND FOR JURY TRIAL

         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a jury trial for all

  claims and issues so triable.

                             Respectfully submitted,

                             TERESA MOREY
                             By Counsel

  Dated: December 18, 2019

  /s/Timothy Coffield
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                                       CERTIFICATE

         I hereby certify that on December 18, 2019, I served the foregoing Second Amended
  Complaint on all counsel of record through the Court’s CM/ECF system.




  /s/Timothy Coffield
  Counsel for Plaintiff




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